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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     JOSEPH WILLIAMSON,                              Case No. 21-cv-06232-PJH
                                                       Plaintiff,
                                   8
                                                                                         ORDER OF DISMISSAL
                                                v.
                                   9

                                  10     DEPARTMENT OF THE TREASURY, et
                                         al.,
                                  11                   Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          Plaintiff, a state prisoner in Texas proceeding pro se, filed a civil action. Plaintiff

                                  14   was sent a notice that he had not paid the filing fee or applied for leave to proceed in

                                  15   forma pauperis (“IFP”) and he was allowed twenty-eight days to either pay the fee or file

                                  16   the application. A copy of the court’s form for applications to proceed IFP was provided

                                  17   with the notice. Twenty-eight days has passed, and plaintiff has not submitted any filing

                                  18   or otherwise communicated with the court. This case is therefore DISMISSED without

                                  19   prejudice.

                                  20          IT IS SO ORDERED.

                                  21   Dated: September 27, 2021

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                                  23                                                              /s/ Phyllis J. Hamilton
                                                                                                 PHYLLIS J. HAMILTON
                                  24                                                             United States District Judge
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